    Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 1 of 28




                 UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF IDAHO
                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,             )
                                      )
         Plaintiff,                   )
                                      )
    v.                                )   Case No. 1:22-cv-00329-BLW
                                      )
THE STATE OF IDAHO,                   )
                                      )
         Defendant.                   )


          BRIEF OF INDIANA AND 16 OTHER STATES
         AS AMICI CURIAE IN SUPPORT OF DEFENDANT

                                   THEODORE E. ROKITA
                                   Attorney General of Indiana

                                   THOMAS M. FISHER*
                                   Solicitor General

                                   Office of the Attorney General
                                   IGC South, Fifth Floor
                                   Indianapolis, Indiana 46204
                                   Tel: (317) 232-6255
                                   Fax: (317) 232-7979
                                   Email: Tom.Fisher@atg.in.gov

                                   Counsel for Amici States
                                   *Admitted pro hac vice
          Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 2 of 28




                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... ii

INTEREST OF AMICI STATES ............................................................................... 1

INTRODUCTION ..................................................................................................... 2

ARGUMENT ............................................................................................................. 4

I.       The United States Lacks a Cause of Action To Sue States Under
         the Supremacy Clause, Particularly To Enforce Conditions of Grants
         to Non-State Entities ........................................................................................ 4

II.      EMTALA’s Narrow Exemption from Its Anti-Preemption Clause
         Does Not Apply to Generally Applicable State Laws Governing
         Medical Services .............................................................................................. 9

III.     The Spending Power Does Not Give Congress the Authority To Pay
         Hospitals To Exempt Themselves from Generally Applicable State
         Laws Policing Medical Services.................................................................... 12

         A. The Supremacy Clause applies to federal law, not conditions
            on federal grants ....................................................................................... 12

         B. Treating Medicare conditions as laws having preemptive effect
            risks violating the Tenth Amendment and the Republican Form
            of Government Clause .............................................................................. 15

CONCLUSION ........................................................................................................ 20

ADDITIONAL COUNSEL ..................................................................................... 21

CERTIFICATE OF SERVICE ................................................................................ 22




                                                            i
          Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 3 of 28




                                     TABLE OF AUTHORITIES

CASES
Alexander v. Sandoval,
   532 U.S. 275 (2001) .............................................................................................. 4

Arizona v. United States,
   567 U.S. 387 (2012) .......................................................................................... 5, 6

Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015) .............................................................................................. 5

Ass’n des Éleveurs de Canards et d’Oies du Québec v. Bonta,
   33 F.4th 1107 (9th Cir. 2022) ......................................................................... 9, 10

Barnes v. Gorman,
  536 U.S. 181 (2002) ........................................................................................ 7, 12
Cooper Indus., Inc. v. Aviall Servs., Inc.,
  543 U.S. 157 (2004) .......................................................................................... 5, 6
Cummings v. Premier Rehab Keller, P.L.L.C.,
  142 S. Ct. 1562 (2022) .................................................................................... 7, 12

Deanco Healthcare, LLC v. Becerra,
  365 F. Supp. 3d 1029 (C.D. Cal. 2019) .............................................................. 10
Democratic Party of Wis. v. Vos,
  966 F.3d 581 (7th Cir. 2020) .............................................................................. 19
Dobbs v. Jackson Women’s Health Organization,
  142 S. Ct. 2228 (2022) .................................................................................... 1, 18
Draper v. Chiapuzio,
  9 F.3d 1391 (9th Cir. 1993) .................................................................................. 9

Gebser v. Lago Vista Indep. Sch. Dist.,
  524 U.S. 274 (1998) .............................................................................................. 8

Hernandez v. Mesa,
  140 S. Ct. 735 (2020) ............................................................................................ 4


                                                          ii
          Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 4 of 28




CASES [CONT’D]

Hines v. Davidowitz,
   312 U.S. 52 (1941) ................................................................................................ 9

In re T.D. Bank, N.A.,
    150 F. Supp. 3d 593 (D.S.C. 2015) .................................................................... 11
Lawrence Cnty. v. Lead-Deadwood Sch. Dist. No. 40-1,
  469 U.S. 256 (1985) ......................................................................................11, 14
Lewis v. Casey,
  518 U.S. 343 (1996) .............................................................................................. 6

Linder v. United States,
   268 U.S. 5 (1925) ................................................................................................ 16
Midatlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot.,
  474 U.S. 494 (1986) .............................................................................................. 7

Nat’l Fed’n of Indep. Bus. v. Sebelius,
  567 U.S. 519 (2012) ................................................................................13, 15, 16

Newport v. Fact Concerts, Inc.,
  453 U.S. 247 (1981) .............................................................................................. 7

New York v. United States,
  505 U.S. 144 (1992) ............................................................................................ 19

Pennhurst State Sch. & Hosp. v. Halderman,
  451 U.S. 1 (1981) ............................................................................................ 7, 12

South Dakota v. Dole,
   483 U.S. 203 (1987) ............................................................................................ 13

United States Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l,
  Inc.,
  570 U.S. 205 (2013) ............................................................................................ 13

United States v. Butler,
  297 U.S. 1 (1936) ......................................................................................3, 17, 18



                                                          iii
          Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 5 of 28




CASES [CONT’D]

United States v. California,
  655 F.2d 914 (9th Cir. 1980) ................................................................................ 4

United States v. Doremus,
  249 U.S. 86 (1919) .............................................................................................. 16
Wallace v. Kato,
  549 U.S. 384 (2007) .............................................................................................. 7
Will v. Mich. Dep’t of State Police,
   491 U.S. 58 (1989) ................................................................................................ 7

Ziglar v. Abbasi,
   137 S. Ct. 1843 (2017) ...................................................................................... 4, 5
STATUTES
42 U.S.C. § 1395dd .................................................................................................... 2

42 U.S.C. § 1395dd(f) .......................................................................................... 9, 10
Idaho Code Ann. § 18-622(3)(a)(i) .......................................................................... 10

Idaho Code Ann. § 18-622(3)(a)(ii) ........................................................................... 2
OTHER AUTHORITIES

C.G. Addison, A Treatise on the Law of Contracts (11th ed. 1911) ......................... 8

David Engdahl, The Contract Thesis of the Federal Spending Power,
  52 S.D. L. Rev. 496 (2007) ................................................................................. 13

David Engdahl, The Spending Power, 44 Duke L.J. 1 (1994) .................................. 8

Idaho Department of Health & Welfare, Licensing & Certification:
   Hospitals (2022), available at
   https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?i
   d=22375&dbid=0&repo=PUBLIC-DOCUMENTS........................................... 10

Philip Hamburger, Purchasing Submission: Conditions, Power,
   and Freedom (2021) .........................................................................12, 14, 18, 19


                                                           iv
          Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 6 of 28




OTHER AUTHORITIES [CONT’D]

U.S. Const. Article VI .............................................................................................. 12
W.W. Story, A Treatise on the Law of Contracts (5th ed. 1874) .............................. 8




                                                           v
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 7 of 28




                         INTEREST OF AMICI STATES

      The States of Indiana, Alabama, Arkansas, Kentucky, Louisiana, Mississippi,

Montana, Nebraska, North Dakota, Oklahoma, South Carolina, South Dakota, Ten-

nessee, Texas, Utah, West Virginia, and Wyoming respectfully submit this brief as

amici curiae in support of the Defendant.

      In the wake of Dobbs v. Jackson Women’s Health Organization, 142 S. Ct.

2228 (2022), many States, like Idaho, prohibit abortion at all stages of pregnancy,

with exceptions for the saving the life of the mother or preventing severe and irre-

versible harm to the mother. The Amici States have an interest in the rejection of the

United States’ untenable position that EMTALA preempts the law at issue here.

      Furthermore, the United States has taken the remarkable position that it may

seek a federal court injunction against a State any time it thinks a state law violates

the conditions of a federal grant issued to a non-state entity. Such power would per-

mit the Executive Branch to challenge all manner of state police-power regulations

and fundamentally transform the relationships among citizens, their States, and the

United States.

      Amici States fully support the arguments of Idaho explaining why the United

States lacks a cause of action and why in any event its law does not preclude use of

abortion to stabilize a mother consistent with EMTALA. Amici submit this brief to

expound on related arguments and explain why the Court should reject the position


                                          1
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 8 of 28




of the United States at even more fundamental levels—because the United States

cannot sue States to enforce grant conditions applicable to hospitals, because EM-

TALA’s grant conditions are not “laws” with preemptive effect under the Suprem-

acy Clause, and because concluding otherwise would call EMTALA into question

under both the Tenth Amendment and the Republican Form of Government Clause.

                                INTRODUCTION

      Idaho criminalizes abortion but provides an affirmative defense where “[t]he

physician determined . . . that the abortion was necessary to prevent the death of the

pregnant woman.” Idaho Code Ann. § 18-622(3)(a)(ii). The United States seeks to

enjoin the abortion law under the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd, which requires hospitals participating in Medicare

to provide stabilizing care to all patients who arrive at an emergency department

suffering from an emergency medical condition. The United States hypothesizes that

with “some pregnancy-related emergency conditions,” such as ectopic pregnancy or

severe preeclampsia, “a physician could determine that the necessary stabilizing

treatment is care that could be deemed an ‘abortion’ under Idaho law.” ECF No. 1,

Complaint ¶ 24.

      The existence of any conflict between EMTALA and Idaho’s abortion law is

highly suspect, as Idaho argues. But this case raises larger questions over whether

the United States can sue a State directly under the Supremacy Clause and whether


                                          2
        Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 9 of 28




Congress can preempt a State’s use of its police power by way of conditions on

federal grants. The position of the United States is not merely that Congress can

sometimes preempt state law using the spending power, but that the federal govern-

ment can, in effect, pay hospitals to violate state law with impunity. The Supreme

Court has expressly stated, however, that the federal government may not establish

a financial relationship directly with a regulated entity that both bypasses state offi-

cials and negates state police-power authority. See United States v. Butler, 297 U.S.

1, 77–78 (1936).

      Indeed, such authority would radically restructure the relationships among the

federal government, States, and citizens. With several other major federal grant pro-

grams, such as Medicaid, the State plays an intermediary role whereby it assents to

grant conditions and modulates its governance of citizens accordingly. But here the

United States offers the novel argument that the federal government may bypass the

State entirely and establish a relationship directly with a citizen that, at the citizen’s

election, effectively immunizes the citizen from state police power authority.

      A proper understanding of grant conditions and the federal spending power,

not to mention the basic dual-sovereign structure of American constitutional gov-

ernment, does not permit such an arrangement. Rather, federal grant recipients con-

tinue to be governed by the state police power, which informs whether citizens can

qualify for federal grants under specified grant conditions. In other words, the proper


                                            3
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 10 of 28




question in this case is not whether the Idaho abortion law is preempted by federal

law, but whether the Idaho law prevents its hospitals from qualifying for federal

Medicare grants. The answer to that question is surely no (for reasons well explained

by Idaho), but framing the question properly is critical to understanding and preserv-

ing the proper relationships among the federal government, States, and citizens.

                                    ARGUMENT
I.    The United States Lacks a Cause of Action To Sue States Under the Su-
      premacy Clause, Particularly To Enforce Conditions of Grants to Non-
      State Entities
      As a suit against a State under the Supremacy Clause to enforce conditions of

federal grants to non-state entities, this case is, fundamentally, a non-starter.

      To sue a State, “the federal government,” “like any other plaintiff,” “must first

have a cause of action.” United States v. California, 655 F.2d 914, 918 (9th Cir.

1980). But no constitutional or statutory provision expressly authorizes the United

States to seek an injunction when state law prevents a private party from accepting

a federal grant. And that authority cannot be inferred. As the Supreme Court has

emphasized in recent years, gone is the “‘ancien regime’” in which courts “assumed

it to be a proper judicial function” to imply causes of action. Ziglar v. Abbasi, 137

S. Ct. 1843, 1855 (2017); see, e.g., Hernandez v. Mesa, 140 S. Ct. 735, 742 (2020);

Alexander v. Sandoval, 532 U.S. 275, 286–87 (2001). Now, the “watchword is

caution.” Hernandez, 140 S. Ct. at 742. If Congress “does not itself so provide, a


                                           4
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 11 of 28




private cause of action will not be created through judicial mandate.” Ziglar, 137 S.

Ct. at 1856.

      That is true even where federal and state law conflict. See Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25 (2015). Armstrong concerned an

action by providers of residential habilitation services challenging Idaho’s failure to

amend existing Medicaid reimbursement rates. Id. at 323–24. The challengers

argued that Idaho’s rates were inconsistent with section (30)(A) of the Medicaid Act.

Id. The Court held that the providers’ lawsuit was barred because the Supremacy

Clause does not create an “implied right of action.” Id. at 327. It explained that the

Supremacy Clause “creates a rule of decision,” but not “any federal rights” or “a

cause of action.” Id. at 324–25. In other words, “[i]t instructs courts what to do when

state and federal law clash, but is silent regarding who may enforce federal laws in

court, and in what circumstances they may do so.” Id. at 325. Armstrong thus directly

forecloses a right of action directly under the Supremacy Clause—a holding that

applies as much to the federal government as to a private entity. And because this

case purports to be a Supremacy Clause case, ECF No. 1, Complaint ¶¶ 12–13, 56–

59, a direct right of action is lacking.

      On this point, Arizona v. United States, 567 U.S. 387 (2012), does not control.

Arizona was decided before Armstrong and did not address the cause of action issue,

so it does not control here. See Cooper Indus., Inc. v. Aviall Servs., Inc., 543 U.S.


                                           5
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 12 of 28




157, 170 (2004) (“Questions which merely lurk in the record, neither brought to the

attention of the court nor ruled upon, are not to be considered as having been so

decided as to constitute precedents.”) (internal quotation marks and citation

omitted); Lewis v. Casey, 518 U.S. 343, 352 n.2 (1996) (“[T]he existence of

unaddressed jurisdictional defects has no precedential effect.”).

      Furthermore, Arizona was predicated not on the Supremacy Clause so much

as the structural limits on state power under the Constitution, which is not a mere

“rule of decision.” The Naturalization Clause affords Congress exclusive power over

immigration and undermines unilateral state police power efforts to regulate

immigration or enforce federal immigration law. Arizona, 567 U.S. at 394–95, 401–

02. In that respect, Arizona at most implies a federal right of action directly under

the Naturalization Clause—an area of substantive federal prerogative—not the

Supremacy Clause.

      Furthermore, unlike in Arizona, the source of the federal government’s claim

of preemption in this case is not a statute that directly authorizes or governs conduct,

but one that does so only by agreement of individual grant recipients to follow grant

conditions. The contractual nature of EMTALA and Medicare, and Idaho’s status as

a non-party to Medicare/EMTALA grant agreements, further undermines the exist-

ence of a cause of action here.




                                           6
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 13 of 28




      With all legislation, Congress legislates on the background of common-law

principles, including contract law, and courts continue to apply the common law

unless Congress has clearly displaced it. See Midatlantic Nat’l Bank v. N.J. Dep’t of

Envtl. Prot., 474 U.S. 494, 501 (1986) (“The normal rule of statutory construction is

that if Congress intends for legislation to change the interpretation of a judicially

created concept, it makes that intent specific.”); see, e.g., Wallace v. Kato, 549 U.S.

384, 388 (2007) (looking to “common-law tort principles” to determine running of

statute of limitations for Section 1983 action); Will v. Mich. Dep’t of State Police,

491 U.S. 58, 67 (1989) (explaining that in the Section 1983 context, the Supreme

Court has long recognized that “members of the 42d Congress were familiar with

common-law principles” and “likely intended these common-law principles to ob-

tain, absent specific provisions to the contrary” (quoting Newport v. Fact Concerts,

Inc., 453 U.S. 247, 258 (1981)).

      A federal grant authorized and conditioned by a statute enacted under the

spending power is “a contract: in return for federal funds, the [recipients] agree to

comply with federally imposed conditions.” Barnes v. Gorman, 536 U.S. 181, 186

(2002) (quoting Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981)).

Accordingly, contract principles inform the operation, limits, enforcement, and rem-

edies for those agreements. See Cummings v. Premier Rehab Keller, P.L.L.C., 142

S. Ct. 1562, 1570 (2022) (explaining that general contract principles “limit[] ‘the


                                          7
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 14 of 28




scope of available remedies’ in actions brought to enforce Spending Clause statutes”

(quoting Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 287 (1998))).

      Under the common law, nonparties to a contract neither can sue to enforce,

nor be compelled to comply with, that contract’s terms. The common law has long

held that “no stranger to the consideration” can “take advantage of a contract, though

made for his benefit.” W.W. Story, A Treatise on the Law of Contracts § 552 (5th

ed. 1874). Because mutual agreement is required to bind the parties to a contract, id.

§ 490, “only a person who is a party to a contract can incur liability under it,” C.G.

Addison, A Treatise on the Law of Contracts 313 (11th ed. 1911). Accordingly, a

third party is not bound by a contract’s terms; only those in “privity” of contract are

so bound. See Story, supra, § 573.

      These principles apply to agreements to participate in federal programs under

Congress’s spending power. This case is, in effect, a lawsuit by one party to a con-

tract against a stranger to the contract to enforce the contract’s terms. Here, the hos-

pital itself, not the State, opts to participate in the program and enters into the spend-

ing agreement directly with the federal government. Because the State is not a party,

it cannot be bound by the terms of the agreement—including provisions requiring

its laws to be overridden by federal law. See David Engdahl, The Spending Power,

44 Duke L.J. 1, 104 (1994) (“[T]hird-party rights . . . are ‘secured’ (if at all) not by

any ‘law,’ but only by the contract between the recipient and the United States.”).


                                            8
         Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 15 of 28




         The upshot is that, in addition to Supremacy Clause doctrine articulated by

Armstrong, common-law contract principles foreclose a right of action by the United

States to bring this suit, i.e., to enforce its grant conditions against a State as a non-

party.

II.      EMTALA’s Narrow Exemption from Its Anti-Preemption Clause Does
         Not Apply to Generally Applicable State Laws Governing Medical Ser-
         vices
         Preemption “comes in three forms: express preemption, field preemption, and

implied preemption.” Ass’n des Éleveurs de Canards et d’Oies du Québec v. Bonta,

33 F.4th 1107, 1113–14 (9th Cir. 2022). The United States argues that the Idaho

abortion law is expressly preempted by EMTALA’s preemption clause. ECF No.

17-1, Memorandum in Support of Motion for a Preliminary Injunction 14. But EM-

TALA’s preemption clause provides that state laws are only preempted “to the extent

that the requirement directly conflicts with a requirement of this section.” 42 U.S.C.

§ 1395dd(f) (emphasis added). The United States, relying on Draper v. Chiapuzio,

9 F.3d 1391, 1393 (9th Cir. 1993), argues that the “preemption provision encom-

passes both impossibility and obstacle preemption.” ECF No. 17-1, Pl.’s Mem. 14.

But obstacle preemption, where state law is “an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress,” Hines v. Davidowitz, 312

U.S. 52, 67 (1941), is a type of implied preemption, which is not the fundamental

argument advanced by the United States here.


                                            9
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 16 of 28




      Critically, EMTALA forecloses a broad understanding of obstacle preemption

when it says that “[t]he provisions of this section do not preempt any State or local

law requirement, except to the extent that the requirement directly conflicts with a

requirement of this section.” 42 U.S.C. § 1395dd(f) (emphasis added). Such text

disclaims any broad concern with whether state law somehow imposes an “obstacle”

to congressional objectives. Idaho need not show that its law is not an obstacle to

Congress’s purpose because “[t]he text of the statute is unambiguous that EMTALA

would preempt state law only if the state requirement directly conflicted with the

requirements of EMTALA.” Deanco Healthcare, LLC v. Becerra, 365 F. Supp. 3d

1029, 1037 (C.D. Cal. 2019).

      The Idaho abortion law does not directly conflict with EMTALA because

compliance with both is possible. See Bonta, 33 F.4th at 1114. Not only does Idaho

law permit abortion where necessary to stabilize a patient, see Idaho Code Ann. § 18-

622(3)(a)(i), but regardless a hospital may comply with both state and federal law

simply by turning down federal money. Some hospitals in Idaho are not Medicare

providers. See Idaho Department of Health & Welfare, Licensing & Certification:

Hospitals 1 (2022), available at https://publicdocuments.dhw.idaho.gov/WebLink/

DocView.aspx?id=22375&dbid=0&repo=PUBLIC-DOCUMENTS (listing 53 hos-

pitals, of which 51 are Medicare/Medicaid certified). Such hospitals do not violate




                                         10
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 17 of 28




federal law even if they refuse a service that the Department of Justice deems re-

quired by EMTALA. Rejecting or being ineligible for a federal grant given the po-

lice-power requirements of state law does not amount to “violating” federal law.

      Direct conflict, moreover, does not include the incidental implications of gen-

erally applicable exercises of the state police power. If a state legislature enacted a

statute ordering that hospitals receiving federal grants need not stabilize patients, or

must hand over a percentage of their federal grants to the State, that might qualify

as a “direct conflict.” See Lawrence Cnty. v. Lead-Deadwood Sch. Dist. No. 40-1,

469 U.S. 256, 260–68 (1985) (declaring preemption of state law that channeled

grants received by local governments in conflict with a federal statute). But Idaho’s

abortion law is a generally applicable law that does not target federal grants or a

general requirement that hospitals stabilize patients. “Where the state and federal

law are not in irreconcilable conflict, and the degree of interference impose by state

law is merely incidental, preemption does not apply.” In re T.D. Bank, N.A., 150 F.

Supp. 3d 593, 607 (D.S.C. 2015). Because any conflict between the Idaho abortion

law and EMTALA is merely incidental, the Idaho law cannot be preempted.




                                          11
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 18 of 28




III.   The Spending Power Does Not Give Congress the Authority To Pay Hos-
       pitals To Exempt Themselves from Generally Applicable State Laws Po-
       licing Medical Services
       A. The Supremacy Clause applies to federal law, not conditions on fed-
          eral grants
       The Supremacy Clause provides that “the Laws of the United States . . . shall

be the supreme law of the land.” U.S. Const. art. VI. But conditions on federal grants

are not “law.” Historically, “regulation was traditionally a matter of public congres-

sional enactment” and Congress was “reluctan[t] . . . to use conditions as a means of

national domestic regulation.” Philip Hamburger, Purchasing Submission: Condi-

tions, Power, and Freedom 91 n.* (2021). Attaching conditions to federal grants

affords a way to incent desired behavior without commanding it. “Unlike ordinary

legislation, which ‘imposes congressional policy’ on regulated parties ‘involuntar-

ily,’ Spending Clause legislation operates based on consent,” i.e., the consent of the

individual accepting a federal grant, as opposed to the consent of the people writ

large. Cummings v. Premier Rehab Keller, 142 S. Ct. 1562, 1570 (2022) (quoting

Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 16–17 (1981)).

       The distinction is critical to a proper understanding of the spending power and

its limits. In sum, “the ‘legitimacy of Congress’ power’ to enact Spending Clause

legislation rests not on its sovereign authority to enact binding laws, but on ‘whether

the [recipient] voluntarily and knowingly accepts the terms of th[at] contract.’” Id.

(quoting Barnes v. Gorman, 536 U.S. 181, 186 (2002)). In other words, “Congress’

                                          12
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 19 of 28




legislative powers cannot be avoided by simply opting out,” but “Congress’ power

to spend money is not a legislative power.” David Engdahl, The Contract Thesis of

the Federal Spending Power, 52 S.D. L. Rev. 496, 498 (2007). That limitation pro-

tects critical state interests. Thus, “unlike statutory provisions that are grounded in

Congress’ legislative powers, spending terms and conditions are obligatory and en-

forceable only if voluntarily accepted.” Id. at 500. The “knowing acceptance” stand-

ard preserves the vertical balance of power between States and the federal govern-

ment, “ensuring that Spending Clause legislation does not undermine the status of

the States as independent sovereigns in our federal system.” Nat’l Fed’n of Indep.

Bus. v. Sebelius, 567 U.S. 519, 577 (2012) (opinion of Roberts, C.J., joined by

Breyer and Kagan, JJ.).

      For this reason, the Court has set limits on the conditions that Congress may

impose on federal funding. For instance, Congress may impose “conditions that de-

fine the limits of the government spending program” but not “conditions that seek

to leverage funding to regulate speech outside the contours of the program itself.”

United States Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc., 570 U.S.

205, 214–15 (2013). And while Congress may financially induce States to accept

policy changes, it may not impose conditions “so coercive as to pass the point at

which pressure turns into compulsion.” NFIB, 567 U.S. at 580 (quoting South Da-

kota v. Dole, 483 U.S. 203, 211 (1987)).


                                           13
         Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 20 of 28




         Critically, a grantee need not accept a federal contract in the first instance, and

if it does, the remedy for violation of its terms is a matter between the grantee and

the United States. Thus, “when a federal statute does not directly require adherence

to its provisions, but instead proposes them as terms of a contractual promise, it is

not giving them the obligation of law.” Hamburger, supra, 132. Because “conditions

do not purport to bind . . . in the manner of law,” “[n]o federal condition, by whatever

means adopted, should be understood to defeat the obligation of contrary state law.”

Id. at 131. Otherwise, “[i]n shifting legislative power to . . . private decisions, con-

ditions displace public representative self-government . . . with private barter.” Id.

at 92.

         The United States cites only a single preemption case involving a federal

grant, see ECF No. 17-1, Pl.’s Mem. 20, where the Court invalidated a state statute

restricting how localities could spend federal grants authorized by Congress for

“any” purpose. See Lawrence Cnty. v. Lead-Deadwood Sch. Dist. No. 40-1, 469 U.S.

256, 260–68 (1985). But the Court did not squarely address whether grant conditions

are properly understood to constitute “law” under the Supremacy Clause. And that

case at most can be understood to preclude States from interfering with the relation-

ship between an eligible federal grant recipient and the grantor—i.e., not as a case

precluding the State from enacting generally applicable police-power statutes that

may preclude grant eligibility.


                                             14
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 21 of 28




      Treating grant conditions as “law” that trumps a generally applicable state

exercise of the police power substitutes private barter for representative government.

It threatens a fundamental alteration of the relationships among citizens, their States,

and the federal government, whereby the federal government may induce citizens to

violate state law with impunity. The Supreme Court has never countenanced such a

capacious understanding of congressional power, and this Court should head it off

by rejecting the federal government’s preemption claim at its most fundamental

level—that no “law” of the United States is even implicated.

      B. Treating Medicare conditions as laws having preemptive effect risks
         violating the Tenth Amendment and the Republican Form of Govern-
         ment Clause
      By urging the Court to treat EMTALA’s conditions on Medicare participation

as “law” capable of preempting state abortion prohibitions, the United States em-

braces a model of general federal governance the Supreme Court has long rejected.

In light of the Tenth Amendment, Congress cannot use the spending power to “un-

dermine the status of the states as independent sovereigns in our federal system,”

NFIB, 567 U.S. at 577, but that is exactly what the United States proposes here.

      Congress derives its spending power from the General Welfare Clause and the

Appropriations Clause, which, as the Supreme Court has recognized in multiple

cases, contain substantive limitations, lest they become a tool for unlimited Congres-

sional government. Id. at 576–78. Critically, Congress may not use its spending


                                          15
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 22 of 28




power to coerce States. Id. at 578. Coercion can arise in multiple ways. First, as in

NFIB, Congress may coerce States by using federal spending programs to lure States

into dependence and then radically changing the terms of the program. State hospi-

tals that participate as Medicare providers subject to the conditions of EMTALA

find themselves in such a position. They have become dependent on the Medicare

program to provide services desired by state elected leaders, and then are threatened

with deprivation if they refuse to violate generally applicable state law governing

abortion. That is exactly the sort of “gun to the head” that the Court deemed uncon-

stitutional in NFIB. Id. at 581.

      But the Court has recognized another species of coercion that also runs afoul

of the Tenth Amendment. That occurs where Congress uses its taxing-and-spending

power to enter the arena of general police power and override contrary state laws.

So, for example, in Linder v. United States, 268 U.S. 5 (1925), the Court rejected

use of the power to tax for the general welfare to regulate the practice of medicine.

It said that “[o]bviously, direct control of medical practice in the states is beyond the

power of the federal government,” which meant that “[i]ncidental regulation of such

practice by Congress through a taxing act cannot extend to matters plainly inappro-

priate and unnecessary to reasonable enforcement of a revenue measure.” Id. at 18;

see also United States v. Doremus, 249 U.S. 86, 93 (1919) (invalidating a federal

regulation of physicians predicated on the taxing power because it invaded the police


                                           16
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 23 of 28




power of States and observing, “[o]f course Congress may not in the exercise of

federal power exert authority wholly reserved to the states”). Here, as in those cases,

the United States contends that Congress may derive a use of the General Welfare

Clause to invade the regulation of medicine. Here, as in those cases, that argument

should be rejected.

      The Court applied Linder to a federal grant program under the Agricultural

Adjustment Act in United States v. Butler, 297 U.S. 1 (1936), where it invalidated a

plan to transfer payments from producing farmers to non-producing farmers. In the

Court’s view, “the act invades the reserved rights of the states. It is a statutory plan

to regulate and control agricultural production, a matter beyond the powers delegated

to the federal government.” Id. at 68. And the grants were a critical part of that in-

vasion: “The tax, the appropriation of the funds raised, and the direction for their

disbursement, are but parts of the plan. They are but means to an unconstitutional

end.” Id. Critically for this case, any choice of the citizen to participate was irrele-

vant, because even so “[a]t best, it is a scheme for purchasing with federal funds

submission to federal regulation of a subject reserved to the states.” Id. at 72.

      That is precisely what the United States advocates here—a purchase of citizen

submission to federal regulation—with the added problem that such submission

would (at least according to the federal government’s theory) directly subvert state

law on a matter reserved to the States. For there can be little doubt that, following


                                          17
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 24 of 28




Dobbs v. Jackson Women’s Health Organization, regulation of abortion constitutes

a core state police power. 142 S. Ct. 2228, 2284 (2022) (“The Constitution does not

prohibit the citizens of each State from regulating or prohibiting abortion.”). And the

Court in Butler was crystal-clear that using the spending power to undermine core

state police powers at the election of the citizen is unconstitutional: “An appropria-

tion to be expended by the United States under contracts calling for violation of a

state law clearly would offend the Constitution.” 297 U.S. at 73. The Court has thus

rejected the position advanced here by the United States.

      Furthermore, because the United States is attempting to use EMTALA to sus-

pend state police power regulations without the State’s consent, it undermines state

sovereignty in a way that implicates the Republican Form of Government Clause.

While the federal government may “induce the states to adopt policies that the Fed-

eral Government itself could not impose,” it cannot induce citizens (corporate or

otherwise) to violate state law. A “republican form of government” is one where the

people are governed by legislatively enacted laws, not one where a different sover-

eign tempts some citizens to exempt themselves from state laws. Manifestly, “the

purchase of submission is not what traditionally was understood as a republican form

of government.” Hamburger, supra, at 147. That observation is particularly apt

where the submission is not undertaken by the State itself, but by a citizen being paid

by the federal government to violate state law.


                                          18
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 25 of 28




      While the Supreme Court has never directly enforced the Guarantee Clause

against the United States, it has observed that “perhaps not all claims under the Guar-

antee Clause present non-justiciable political questions.” New York v. United States,

505 U.S. 144, 185 (1992). Where Congress (or the Executive Branch) “actively in-

terfere in the states’ republican self-governance,” courts do not face unanswerable

questions about how the United States itself should “guarantee” republican govern-

ment. Hamburger, supra, at 147.

      With the sort of active interference attempted by the United States in this case,

courts can observe and declare violations using administrable standards, which

averts the political question doctrine. See Democratic Party of Wis. v. Vos, 966 F.3d

581, 589 (7th Cir. 2020) (“We do not interpret Rucho or any other decision by the

Supreme Court as having categorically foreclosed all Guarantee Clause claims as

nonjusticiable, even though no such claim has yet survived Supreme Court re-

view.”). This Court should avoid the need to address such difficult questions by re-

jected the use of conditions on grants to non-state actors as “laws” enforceable under

the Supremacy Clause. Otherwise, it should conclude that a scheme whereby the

United States pays hospitals to violate state abortion laws constitutes a paradigm

violation of the Republican Form of Government Clause.




                                          19
Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 26 of 28




                         CONCLUSION

The Court should deny the Motion for Preliminary Injunction.

                               Respectfully submitted,

                               THEODORE E. ROKITA
                               Indiana Attorney General

                          By: /s/ Thomas M. Fisher
                              Thomas M. Fisher*
                              Solicitor General
                              *Admitted pro hac vice

                               Office of the Indiana Attorney General
                               IGC-South, Fifth Floor
                               302 West Washington Street
                               Indianapolis, Indiana 46204-2770
                               Telephone: (317) 232-6255
                               Fax: (317) 232-7979
                               Email: Tom.Fisher@atg.in.gov




                                20
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 27 of 28




                         ADDITIONAL COUNSEL

STEVE MARSHALL                            JOHN M. O’CONNOR
Attorney General                          Attorney General
State of Alabama                          State of Oklahoma

LESLIE RUTLEDGE                           ALAN WILSON
Attorney General                          Attorney General
State of Arkansas                         State of South Carolina

DANIEL CAMERON                            MARK VARGO
Attorney General                          Attorney General
Commonwealth of Kentucky                  State of South Dakota

JEFF LANDRY                               HERBERT H. SLATERY III
Attorney General                          Attorney General
State of Louisiana                        State of Tennessee

LYNN FITCH                                KEN PAXTON
Attorney General                          Attorney General
State of Mississippi                      State of Texas

AUSTIN KNUDSEN                            SEAN REYES
Attorney General                          Attorney General
State of Montana                          State of Utah

DOUG PETERSON                             PATRICK MORRISEY
Attorney General                          Attorney General
State of Nebraska                         State of West Virginia

DREW WRIGLEY                              BRIDGET HILL
Attorney General                          Attorney General
State of North Dakota                     State of Wyoming




                                     21
       Case 1:22-cv-00329-BLW Document 90 Filed 08/19/22 Page 28 of 28




                         CERTIFICATE OF SERVICE

      I hereby certify that on August 19, 2022, I electronically filed the foregoing

with the Clerk of the Court for the United States District Court for the District of

Idaho by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                              /s/ Thomas M. Fisher
                                              Thomas M. Fisher
                                              Solicitor General
                                              *Admitted pro hac vice

Office of the Indiana Attorney General
IGC-South, Fifth Floor
302 West Washington Street
Indianapolis, Indiana 46204-2770
Telephone: (317) 232-6255
Fax: (317) 232-7979
Email: Tom.Fisher@atg.in.gov




                                         22
